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                 EXHIBIT 2
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                         Northern District
                                                       __________ Districtof
                                                                           ofIllinois
                                                                              __________
            In re Application of
                                                                               )
                                                                               )
            ATIKU ABUBAKAR                                                            Civil Action No. 1:23-cv-5099
                                                                               )
                                                                               )
            For an Order Directing Discovery from                              )
            CHICAGO STATE UNVERSITY                                            )
            Pursuant to 28 U.S.C. § 1782.
                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                                                     Chicago State University, Admin. Room 128
 To:
                                                    9501 South King Drive, Chicago, Illinois 60628
                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
these matters:

 Place: DECHERT LLP                                                                    Date and Time:
          35 West Wacker Drive, Suite 3400                                             August 30, 2023 at 9:00 a.m. CDT, unless otherwise
          Chicago, Illinois 60601                                                      ordered by the Court

          The deposition will be recorded by this method: In-person by stenographic and videographic means.

       ’ Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                 Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party) Atiku Abubakar
                                                                        , who issues or requests this subpoena, are:
Angela Liu; 35 West Wacker Dr., Suite 3400, Chicago, Illinois 60601; Angela.Liu@dechert.com; (312) 646-5800
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                         Reset
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                       ATTACHMENT A

  I.     DEFINITIONS

         Unless otherwise defined, all words and phrases used herein shall be accorded their usual

meaning and shall be interpreted in their common, ordinary sense. As used in these Requests, the

words and terms set forth below shall be defined as follows:

        1.      “Applicant” means Atiku Abubakar.

        2.      “Communications” shall be construed in the broadest sense to include any oral or

written transmittal of information, facts, opinions, ideas, or thoughts between persons including,

but not limited to, by means of Documents, and includes the transfer of data from one location to

another by electronic or similar means. “Communications” include, but are not limited to:

dialogues, colloquies, discussions, or conversations via telephone, video conference, or in-person

meeting; text messages; instant or social media messages; e-mails; and calendar invitations.

        3.      “CSU” refers to Chicago State University and any of its current or former agents,

employees, attorneys, representatives or any other individual or entity acting for its benefit or on

its behalf.

        4.      “Documents” is synonymous to and coextensive with its meaning in Federal Rule

of Civil Procedure 34. “Documents” shall include, but are not limited to: all objects, tangible or

intangible, from which information may be derived, however reproduced, including any recording

in any tangible form of any information, whether handwritten, typed, printed, stored electronically

on computer disks, tapes, or databases, or otherwise stored or reproduced. Further, “documents”

includes, but is not limited to: books, pamphlets, periodicals, letters, reports, memoranda, drafts,

handwritten notes, notations, messages, e-mails, text messages, facsimiles, voicemails, records,

videotapes, studies, analyses, summaries, bulletins, instructions, minutes, photographs,

tabulations, questionnaires, surveys, drawings, sketches, working papers, charts, graphs, indices,


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tapes, correspondence, agreements, trip reports, releases, estimates, opinions, electronic or other

video and/or audio recordings of any kind, transcriptions, or any and all other written, printed,

typed, taped, filmed, or graphic matter or tangible thing, of whatsoever description, however

produced or reproduced (including computer stored or generated data, together with instructions

and programs necessary to search or retrieve such data), and shall include all attachments and

enclosures to any requested item, which shall not be separated from the items to which they are

attached or enclosed.

     5.        “Including” and “including, but not limited to” are intended to illustrate the kind of

information responsive to each Request herein.         Such examples are not exhaustive of the

information sought and shall not be read to limit the scope of the Requests.

     6.        “June 22, 1979 Diploma” means the diploma dated June 22, 1979 purporting to

grant Mr. Tinubu the degree of Bachelor of Science from CSU.

     7.        “June 27, 1979 Diploma” means the diploma dated June 27, 1979 purporting to

grant Mr. Tinubu the degree of Bachelor of Science from CSU.

     8.        “Mr. Tinubu” means Bola Ahmed Tinubu and any of his agents, attorneys,

representatives, or any other individual or entity acting on his behalf.

     9.        “Nigerian proceedings” refers to the proceedings between Petitioners Atiku

Abubakar and the People’s Democratic Party, and Respondents Bola Ahmed Tinubu, the

Independent National Electoral Commission, and the All Progressives Congress, initiated on or

about March 21, 2023 in the Court of Appeal (In the Presidential Election Petition Court), Holden

at Abuja, to challenge the conduct and subsequent results of Nigeria’s presidential elections held

on February 15, 2023; the proceedings between Mike Enahoro-Ebah and Bola Ahmed Tinubu,

initiated on or about November 10, 2022 in the Chief Magistrate Court of the FCT in the




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Magisterial District, Holden at Abuja; the proceedings between Petitioners Peter Obi and the

Labour Party and Respondents Bola Ahmed Tinubu, the Independent National Electoral

Commission, and the All Progressives Congress, initiated on or about March 20, 2023 in the Court

of Appeal (In the Presidential Election Court) at Abuja to challenge the qualifications of Mr.

Tinubu and the conduct of the Presidential elections; and any other proceedings brought in the

Nigerian courts to challenge the electoral process and/or results in Nigeria’s February 2023

Presidential elections.

    10.         “Referring,” “relate to,” “related to,” and “relating to” shall be construed in their

broadest possible sense, and include, but are not limited to: referring to, reflecting, memorializing,

comprising, constituting, containing, creating, bearing upon, identifying, supporting, showing,

contradicting, defining, discussing, describing, evidencing, setting forth, underlying, commenting

upon, forming the basis of, analyzing, deriving or arising from, or mentioning in any way the

pertinent subject matter.

    11.         The “Requests” means the document requests in Attachment A of the Subpoena to

Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

served to You by Applicant.

    12.         The “August 11 Subpoena” means the subpoena served on CSU on or about August

11, 2022, by Mike Enahoro-Ebah in Mike Enahoro-Ebah, et al. v. University of Chicago, et al.,

Case No. 2022L007289 (Cook County, Illinois), for use by Mike Enahoro-Ebah in the Nigerian

proceedings.

    13.         “You” and “Your” refers to Chicago State University and any of its current or

former agents, employees, attorneys, representatives or any other individual or entity acting for its

benefit or on its behalf.




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       14.        The use of the singular form of any term shall be construed to include its plural,

and vice versa.

       15.        The past tense includes the present tense, and vice versa, when the clear meaning

is not distorted by changing the tense.

       16.        To the extent these Topics use a term that is defined by the Federal Rules of Civil

Procedure, the term is to be construed in accordance with its definition under the Federal Rules of

Civil Procedure and/or applicable law, unless the term is defined more broadly herein.

 II.     INSTRUCTIONS

       17.        Pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure, You are directed

to designate one or more of Your officers, directors, managing agents, or other persons who

consent to testify on your behalf and who have knowledge of and are adequately prepared to testify

concerning the topics enumerated below.

       18.        No fewer than five (5) days prior to the date of the deposition, Applicant requests

that You identify, in writing, the person(s) designated to testify on Your behalf, the job title of

such person(s), and the topic(s) on which each such person(s) will testify.

       19.        Your answers to the Topics shall be in accordance with the Federal Rules of Civil

Procedure and/or applicable law and the Local Rules of the United States District Court for the

Northern District of Illinois.

III.     TOPICS

         Counsel for Applicant Abubakar intends to ask questions of You or Your designated

representative on the following Topics:

Topic No. 1.

         The authenticity and veracity of the contents of each of the Documents and

Communications sought in response to the Requests, including but not limited to all diplomas


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purportedly issued to Mr. Tinubu, including the June 22, 1979 Diploma and the June 27, 1979

Diploma, and any other CSU documents related to Mr. Tinubu that were provided by CSU to

litigants (including Mr. Tinubu) in the Nigerian proceedings.

Topic No. 2.

       The processes and procedures by which CSU maintains diplomas and other documents and

records, and by which it searches for and provides such documents and records in response to

students’ requests and/or third-party subpoenas, or other legal processes, including, without

limitation, for students who attended CSU during the 1970s and early 1980s.

Topic No. 3.

       The process by which You searched for and produced Documents and Communications in

response to the August 11 Subpoena and for any other request for CSU documents related to Mr.

Tinubu.

Topic No. 4.

       The process by which CSU’s Deputy General Counsel, Mr. Jamar Orr, produced any

certification or other statement for use in the Nigerian proceedings and/or concerning the

authenticity of documents produced by CSU relating to Mr. Tinubu.

Topic No. 5.

       Whether CSU actually produced and/or issued either the June 22, 1979 Diploma or the

June 27, 1979 Diploma to Mr. Tinubu.

Topic No. 6.

       CSU’s reasons for identified differences and discrepancies between the June 22, 1979

Diploma and the June 27, 1979 Diploma.

Topic No. 7.




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       The current employment status of Mr. Jamar Orr, and if no longer employed in CSU

General Counsel’s office, the circumstances relating to his departure.




                                                6
